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                                 123142



                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

_________________________________________

IN RE: COOK MEDICAL, INC., IVC FILTERS
MARKETING, SALES PRACTICES AND                                 Case No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION                                                    MDL No. 2570
_________________________________________

This Document Relates to the following cases:

Jacob Wegner, Case No. 1:17-cv-01409-RLY-TAB

_________________________________________

                ORDER SETTING TELEPHONIC STATUS CONFERENCE

       This matter is set for a telephonic status conference at 2 p.m. (Eastern Time) on

September 21, 2021, before Magistrate Judge Tim A. Baker. The conference will be ex parte

and neither Defendant's representative or counsel should attend. Plaintiff shall appear by

counsel. The information needed by counsel of record to participate in this telephonic conference

will be provided by separate notification. Plaintiff shall personally participate in this

conference by calling Chambers at 317.229.3660. The purpose of this conference is to address

Plaintiff's counsel (John T. Kirtley, III) motion to withdraw as counsel of record [Filing No.

19791].


        Date: 8/30/2021
                                                  _______________________________
                                                   Tim A. Baker
                                                   United States Magistrate Judge
                                                   Southern District of Indiana


Distribution to all registered counsel of record via the Court’s ECF system.
John T. Kirtley, III is required to serve Plaintiff, Jacob Wegner via U.S. Mail.
